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 7                           UNITED STATES DISTRICT COURT
 8                         SOUTHERN DISTRICT OF CALIFORNIA
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10    ROBERT GRUDER, an individual,                      Case No.: 3:20-cv-00796-BEN-AHG
11                                      Plaintiff,
                                                         ORDER GRANTING JOINT
12    v.                                                 MOTION TO DISMISS
13    CRISP MARKETING, LLC;
                                                         [ECF No. 25]
14    Boomsourcing, LLC d/b/a Boom.ai,
15                                   Defendants.

16         Before the Court is Plaintiff Robert Gruder and Defendant Crisp Marketing, LLC’s
17   Joint Motion to Dismiss Defendant Crip Marketing, LLC with Prejudice. ECF No. 25.
18   Pursuant to Federal Rule of Civil Procedure 41(a)(2), the Court GRANTS the Joint
19   Motion. Plaintiff’s claims against Defendant Crisp Marketing, LLC are dismissed with
20   prejudice. Each party shall bear its own costs and attorney’s fees.
21         IT IS SO ORDERED.
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23   Dated: January 11, 2021
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